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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH CAROLINA

    IN RE:                                                )
                                                          )             CASE NO. 21-02909-hb
    THE MUFFIN MAM, INC.,                                 )
                                                          )                      Chapter 7
                        Debtor.                           )
                                                          )

                            ORDER MODIFYING AUTOMATIC STAY

         THIS MATTER comes before the Court upon Pinnacle Bank’s Motion for Relief from

Automatic Stay filed on November 23, 2021 (Docket No. 11, the “Motion”). Upon request of

Pinnacle Bank and based upon a sufficient showing of extraordinary circumstances, an emergency

hearing on the motion was held on November 30, 2021 (see Docket No. 13). Service of the Motion

was made as set forth in the Certificate of Service filed therewith (see Docket No. 14). No

objections to the Motion were filed prior to the objection deadline or presented at the hearing on

the Motion1. Based upon the Motion and a review of the record, the Court finds and concludes as

follows:

         1.      On November 9, 2021 (the “Petition Date”), the Debtor filed a petition for relief

under chapter 7 of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq.

         2.      As set forth in the Motion, Pinnacle Bank (“Lender”) asserts claims against the

Debtor pursuant to that certain Bond Purchase and Loan Agreement dated as of March 1, 2019 (as

the same have been or may be amended, supplemented, extended, restated, replaced, amended and

restated or otherwise modified from time to time, the “Bond Purchase Agreement”) and Revolving

Credit Note dated as of March 15, 2019 (as the same have been or may be amended, supplemented,



1
 CSC Leasing Co. filed its Limited Response to and Reservation of Rights Regarding Pinnacle Bank’s Motion for
Relief from The Automatic Stay on November 30, 2021 (Doc. No. 23), in which it expressly did not object or
oppose the Motion.
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extended, restated, replaced, amended and restated or otherwise modified from time to time, the

“Note”) in the prepetition amounts of $9,695,107.92 and $4,010,444.44, respectively, resulting in

total prepetition claims by Lender against the Debtor of not less than $13,705,552.36.

        3.      As further set forth in the Motion, Lender asserts that its claims under the Bond

Purchase Agreement and the Note are secured by a security interest granted pursuant to that certain

Credit and Security Agreement dated as of March 15, 2019 (as the same have been or may be

amended, supplemented, extended, restated, replaced, amended and restated or otherwise modified

from time to time, the “Credit Agreement”) between Lender and the Debtor, pursuant to which the

Debtor granted Lender blanket liens on all the Debtor’s personal property (collectively, the

“Collateral”), including but not limited to all of the Debtor’s:2 (a) Accounts, (b) Chattel Paper, (c)

Documents, (d) Instruments, (e) Inventory, (f) General Intangibles, (g) Equipment, (h) Fixtures,

(i) Deposit Accounts, (j) Goods, (k) Letter of Credit Rights, (l) Supporting Obligations, (m)

Investment Property, (n) Commercial Tort Claims, (o) Property in Lender’s possession, (p)

Closing Date Acquisition Documents, and (q) Proceeds of the foregoing.

        4.      Pursuant to the Motion, Lender seeks relief from the automatic stay as to the

Collateral under 11 U.S.C. §§ 362(d)(1) and (2) so that it may exercise its remedies available under

non-bankruptcy law. Lender further requests that the stay imposed by Fed. R. Bankr. P. 4001(a)(3)

not apply to the relief granted herein.

        5.      At the hearing on the Motion, counsel for Lender advised the Court that the Motion

had been resolved, and that the other parties in interest had agreed not to oppose the relief sought

upon the following conditions:




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 Capitalized terms not otherwise defined have the same meaning as in the Credit Agreement, a copy of which was
attached to the Motion as Exhibit C.
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             a. Lender shall waive any unsecured deficiency claim it may have against the Debtor
                which results following disposition of the Collateral; and

             b. The relief provided by this Order shall be without prejudice to the rights, claims,
                and defenses of CSC Leasing Co. (“CSC”) regarding any personal property,
                equipment, and other property alleged to be leased by CSC to the Debtor (the “CSC
                Leased Equipment”3) pursuant to that certain master equipment lease, agreement
                number 2020041 dated April 1, 2020 executed by and between CSC and the Debtor
                (the “Master Lease”). Nothing in this Order, or the relief granted and authorized by
                this Order, shall be deemed to impair, prejudice, abrogate, enhance, and/or
                otherwise affect CSC’s and the Lender’s—or any other party in interest’s or
                creditor’s—rights, claims, and/or interests, if any, in the CSC Leased Equipment
                and the proceeds thereof, including, without limitation, the extent to which the CSC
                Leased Equipment, and its proceeds, may comprise a portion of the Collateral.
                CSC’s and Lender’s respective rights, claims, and/or interests in the CSC Leased
                Equipment, and any other items of Collateral, are expressly preserved, including,
                without limitation, as to the priority of any liens, encumbrances, claims, and/or
                security interests in the Collateral and/or the CSC Leased Equipment, and the
                proceeds thereof; and

             c. The relief provided by this order shall be without prejudice to the rights and/or
                claims of any holder of asserted reclamation claims under 11 U.S.C. § 546(c) with
                respect to goods sold to the Debtor within 45 days of the Petition Date
                (“Reclamation Claims”), and nothing in this Order shall be deemed to impair,
                prejudice, abrogate, enhance, and/or otherwise affect any such party’s rights,
                claims, or interest in any Reclamation Claims, with all rights, claims, and/or
                interests in any Reclamation Claims being expressly preserved, including, without
                limitations, the priority of any liens, encumbrances, claims, and/or security interests
                in the Reclamation Claims; and

             d. The relief provided by this Order shall be without prejudice to the rights, claims,
                and defenses of American Services, Inc. and its wholly owned subsidiary ACI
                Janitorial, LLC (collectively, American Services, Inc. and ACI Janitorial, LLC are
                hereafter referred to as “ACI”) regarding any personal property, equipment, or other
                property asserted to be owned by ACI which is currently located on Debtor
                premises (the “ACI Equipment”). ACI asserts that the ACI Equipment includes but
                is not limited to (1) a Tennant Riding Scrubber, (2) an ICE walk behind floor
                scrubber, (3) a Wet Vacuum, (4) Kaivac Pressure Wash/Wet Vacuum combo
                Machine, (5) a Backpack Vacuum, and (6) miscellaneous cleaning supplies.
                Nothing in this Order, or the relief granted and authorized by this Order, shall be
                deemed to impair, prejudice, abrogate, enhance, and/or otherwise affect ACI’s or


3
  CSC asserts that the CSC Leased Equipment includes, without limitation, the following items: (a) a Douglas brand
pan washer; (b) Engineered Handling, Inc. brand high flow freezer racks; (b) Cat Tech brand security system
accessories and related parts; (c) a Food Tools brand cake slicer; (d) an ID Technology brand labeling machine and
related accessories; (e) two Midmeki brand x-ray food inspection machines and related parts; and (f) a Veropak, Ltd.
brand paper case dispenser.
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               Lender’s (or any other party or creditor’s) rights, claims, and/or interest in the ACI
               Equipment.

       6.      Lender has also agreed to waive any claim arising under 11 U.S.C. §§ 503(b) or

507(b) as a result of this Order and, subject to Paragraph 5(b) of this Order, will turn over to the

Trustee any funds realized from disposition of the Collateral in excess of all liens, costs, and

expenses.

       It is therefore, ORDERED that the automatic stay is lifted as to the Collateral upon the

terms and conditions set forth hereinabove so that Lender may exercise its remedies available

under non-bankruptcy law with respect to the Collateral. It is further ORDERED that, in the

absence of any objection to the Motion, the stay imposed by Fed. R. Bankr. P. 4001(a)(3) shall not

apply to the relief granted herein.

       AND IT IS SO ORDERED.
